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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                NO. 4:15CR00101-5 JM

FELECIE WYATT

                                          ORDER

       Pending is Defendant Felecie Wyatt, M.D.’s Motion for Severed Trial (Docket No.

144). The United States has responded objecting to the requested severance.

       For Defendant to be successful in her motion, she would have to show that she

would suffer “real prejudice” by being tried with the other defendant; real prejudice

can be shown by demonstrating that her defense is irreconcilable with that of her co-

defendants or that the jury would be unable to compartmentalize the evidence as it

relates to the separate defendants. United States v. Mickelson, 378 F.3d 810, 818 (8th Cir.

2004). Defendant’s arguments that she will need the testimony of the other co-

defendants to establish her defense and that there is a substantial risk that evidence

offered against the other defendants will be attributed to her are insufficient to establish

real prejudice. The motion for severed trial is denied.

       IT IS SO ORDERED this 27th day of October, 2015.



                                          _______________________________
                                           UNITED STATES DISTRICT JUDGE
